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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                        )    CASE NO. 1:07CR661-001
                                                 )
       Plaintiff,                                )    JUDGE CHRISTOPHER A. BOYKO
                                                 )
               v.                                )    MAGISTRATE JUDGE VECCHIARELLI
                                                 )
JACK C. WILLIAMS,                                )
                                                 )
       Defendant.                                )    ORDER


       On February 13, 2008, the Defendant appeared before Magistrate Judge David S.

Perelman for Arraignment. Defendant entered a plea of not guilty to Counts 1 and 9 of an

indictment charging a violation of 18 U.S.C. §1341- Mail Fraud and 18 U.S.C. § 1341 and 2 -

Mail Fraud. Defendant was released on a $25,000 unsecured bond subject to Pretrial

Supervision: (1) travel restricted to the Northern District of Ohio, Southern District of Texas,

and the State of Florida; (2) no weapons or dangerous firearms; (3) drug testing and/or treatment

as deemed necessary by Pretrial Services; (4) avoid all contact with co-defendants, except for

employment and case preparation with counsel; and (5) avoid all contact with any potential

victim or witness.

       On April 8, 2008, the Court amended Defendant’s bond to include a Mental Health

Treatment condition as directed by Pretrial Services.

       On April 11, 2008, the Court received a Violation Report from Pretrial Services Officer
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Julie Gray requesting the Court issue an arrest warrant for Defendant. The Violation Report

listed the nature of each non-compliance: (1) Defendant exhibited a marginal adjustment to

supervision; (2) Defendant admitted to recent use of Cocaine; (3) Defendant failed to report to

Pretrial Services following release from mental health treatment at Ben Taub Hospital; and (5)

Defendant’s current whereabouts were unknown.

         Defendant , represented by counsel, appeared before this Court for a Revocation of

Supervised Release hearing. Julie Gray, Pretrial Officer, gave an overview of the violations

listed in the Violation Report.

         Counsel for Defendant stated the Defendant agrees with the violations and admits to

using Cocaine. Defendant requests the Court continue substance abuse treatment and not revoke

bond.

         The Government had no objection to any recommendation by Pretrial Officer Gray or the

Court.

         The Court orders Pretrial Services to create a plan for supervision with recommendations

from the Government. It is ordered the Defendant shall immediately begin interim drug/alcohol

treatment as deemed necessary by Pretrial Services. Further, Defendant’s bond is revoked and

Defendant is remanded to the custody of the United States Marshal.



         IT IS SO ORDERED.



                                             s/Christopher A. Boyko
                                             Christopher A. Boyko
                                             U.S. District Court Judge

May 23, 2008
